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UNI'I`ED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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SECURIT[ES LITIGATION : Master File No. 10 Civ. 3461 (PAC)
This Document Relates To:
OPINION & ORDER
ALL ACTIONS
__________ ____ __ _____X

HONORABLE PAUL A. CROTTY, United States District Judge:

Lead Plaintiffs allege that Goldman Sachs Group, lnc. (“Goldman”) and some of its
senior executives (collectively, “Defendants”) violated Section lO(b) and Rule 10b~5; and
Section 20(a) of the Exchange Act by making misstatements about Goldman’s conflicts of
interest policies and business practices, revealed to be false by three reports of government
investigations into Goldman’s conflicted role in certain collateralized debt obligation (“CDO”)
transactionsl

Previously, the Court (1) granted Defendants’ motion to dismiss claims regarding their
failure to disclose Goldman’s receipt of Wells notices from the Securities and Exchange
Commission (“SEC”), but (2) denied the motion With respect to claims that Goldman had made
misstatements about its conflicts of interest See Rz`chman v. Goldman Sachs Grp., Inc., 868 F.
Supp. 2d 261 (S.D.N.Y. 2012). The Court also denied the Defendants’ motion for partial
reconsideration of the motion to dismiss, see In re Goldman Sachs Grp., Inc. Sec. Litig., 2014
WL 2815571 (S.D.N.Y. Jnn. 23, 2014), and to certify for interlocutory appeal the Court’s denial
of reconsideration, see In re Gola'man Sachs Grp., Inc. Sec. Litig., 2014 WL 5002090 (S.D.N.Y.
Oct. 7‘, 2014). Subsequently, Plaintiffs moved for class certification, and on Septelnber 24, 2015,

the Court certified the following class:

 

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All persons or entities who, between February 5, 2007, and June 10, 2010,

purchased or otherwise acquired the common stock of The Goldrnan Sachs Group,

Inc. (‘Goldman’ or the ‘Company’), and were damaged thereby.
See In re Goldman Sachs Grp., Inc. Sec. Litig., 2015 WL 5613150, at *l (S.D.N.Y. 2015).

Defendants took an interlocutory appeal. The Second Circuit agreed with the Court that
Plaintiffs had satisfied the four requirements of Rule 23(a), and that Plaintiffs had “established
the preliminary elements to invoke the Basic presumption of reliance.” Arkansas Teachers Ret.
Sys. v. Goldman Sachs Grp., Inc. (“Arkansas Teachers”), 879 F.3d 474, 482, 484 (Zd Cir. 2018).
The Second Circuit, however, vacated the class certification and remanded the case for further
proceedings rl"he Second Circuit directed the Court to reconsider whether Defendants have
rebutted the Basic presumption by a preponderance of the evidence and “encourage[d] the court
to hold any evidentiary hearing or oral argument it deems appropriate under the circumstances.”
Id. at 485»»~36. 1

On remand, both parties submitted supplemental briefs, and the Court held an evidentiary
hearing and heard oral argument on July 24 and 25 , 2018, respectively At the evidentiary
hearing, Defendants called two experts-Dr. Gompers and Dr. Choi-Who testified that the
alleged misstatements had no price impact and that the price declines following the alleged
corrective disclosures were due entirely to the news of enforcement actions. Plaintiffs called one
expert+~“~Dr. Finnerty-who disputed the methods and conclusions of Defendants’ experts.

Upon due consideration of arguments and evidence before the Court, the Court
determines that Defendants have not rebutted the Basic presumption by a preponderance of the

evidence Accordingly, the motion for class certification is GRAN'I`ED.

 

l The Court assumes familiarity with the prior decisions on this matter. Richmcm, 868 F. Supp. 2d at 26}; In re
Goldmcm Sachs Grp., Inc. Sec. Li!ig., 2014 WL 2815571; In re Goldman Sachs Grp., Inc. Sec. Litig., 2014 WL
5002090; In re Go[dman Sachs Grp., Inc. Sec. Lr'tig., 20l5 WL 5613150; and Arkansas Teachers, 8'79 F.3d at 474.

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APPLICABLE LAW

Plaintiffs bringing a securities fraud claim under Section lO(b) of the Exchange Act must
demonstrate that defendants made a material misrepresentation and that the plaintiffs relied on it.
In re Insys Therapeutics, Inc. Sec. Litz`g., 2018 WL 2943746, at *3 (S.D.N.Y. 2018). Plaintiffs
seeking class certification under Fed. R. Civ. P. 23(b)(3) must demonstrate: (i) that questions of
law or fact common to class members predominate over any questions affecting only individual
members, and (ii) that a class action is superior to other available methods.

Pla_intiffs bringing a securities fraud claim as a class are entitled to a presumption (the
“Basic presumption”) that all plaintiffs relied on the defendants’ misrepresentationmestablishing
commonality of the reliance element~4 “so long as [the misrepresentation] was reflected in the
market price [of securities] at the time of [the] transaction.” Basz`c v. Levinson, 485 U.S. 224,
247 (1988); Erz`ca P. John Fund, Inc. v. Halliburron Co., 563 U.S. 804, 813 (2011) (“Halliburton
1”). The Basic presumption, however, can be rebutted at the class certification stage with
evidence that the defendants’ misrepresentation had no price impact Halliburton CO. v. Erica P.
John Fund, Inc (“Halliburton Il”), 134 S. Ct. 2398, 2414 (2014). Defendants “bear the burden of
persuasion to rebut the Basic presumption by a preponderance of the evidence.” Arkansas
Teachers, 879 F.Bd at 478 (citing Waggoner v. Barclays PLC, 875 F.3d 79 (2d Cir. 2017)).
Defendants “rnust demonstrate that the misrepresentation did not in fact affect the stock’s price.”
Id. at 484.

DISCUSSION

There is no dispute “that {P]laintiffs {have] established the preliminary elements to

invoke the Basic presumption of reliance.” Arkansas Teachers, 879 F.3d at 484. The parties

“also agree that {Defendants} may submit rebuttal evidence of a lack of price impact at the class

 

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certification stage,” id.; but Defendants “bear the burden of persuasion to rebut the Basic
presumption by a preponderance of the evidence,” id. at 478. The question for the Court then is
rather simple and straight forward: have Defendants demonstrated, by a preponderance_of the
evidence, that the alleged misstatements had no price impact? For the reasons set forth below,
the Court concludes that.Defendants have not rebutted the Basic presumption by a
preponderance of the evidence.
I. Evidence of Pri`ce Impact

Plaintiffs claim that the alleged misstatements had impact on Goldman’s stock price.
Although the misstatements themselves did not inflate the stock price, they allegedly served to
maintain an already inflated stock price. The inflation was demonstrated on three dates, when
the falsity of the misstatements was revealed: (i) April 16, 2010, when the SEC filed a lawsuit
against Goldman for sponsoring the ABACUS CDO without disclosing to potential CDO
investors that a hedge fund, Paulson & Co. Inc., “played an active and determinative role in the
asset selection process,” Compl. 1[1{ 63"65, 307; (ii) Apri130, 2010, when the press reported that
the Department of Justice (“DOJ”) was investigating Goldman’s mortgage~related matters, id. 1§1[
318, 319, 334; and (iii) June 10, 2010, when the press reported that the SEC was investigating
Goldman’s alleged conflicts in the Hudson CDO, id. ‘§[1[ 322, 335. 2 Dr. Finnerty, 'Plaintiffs’

expert, stated that the price declines following these corrective disclosures were caused by the

news of Goldman’s conflicts. ECF 193-ll (“1/30/2015 Finnerty Decl.”) 111[ 52-63, 68-80.

 

2 The alleged misstatements and the corresponding corrective disclosures are detailed in the Court’s September 24,
2015 order. See In re Goldman Snchs Grp., Inc. Sec. Litfg., 2015 WL 5613150, at *1-*2.

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II. Defendants’ Rebuttal Evidence

Defendants label the Plaintiffs’ price impact theory “preposterous.” Tr.3 at 232:9.
According to Defendants, (l) the lack of stock price movement on 36 dates when published
reports commented on Goldrnan’s conflicts_all before the three corrective disclosures-
demonstrates that the alleged misstatements did not cause any price inflation‘, and (2) the price
declines following three alleged corrective disclosures were due entirely to the news of
enforcement actions, not the reports of Goldman’s conflictsn

Defendants’ arguments rely heavily on two experts who testified at the July 24, 2018
evidentiary hearing: Drs. Paul Gompers and Stephen Choi. Dr. Gompers reported that
Goldman’s stock price did not move in response to articles published on 36 dates regarding
Goldman’s conflicts, including the ABACUS, Hudson and other CD() deals, all of which
occurred before the three corrective disclosure dates. See ECF 193-4 (“4/6/2015 Gompers
Decl.”) 111[ 48~60, Exs. 5 & 6‘, ECF 193-6 (“7/2/2015 Gompers Decl.”)1{1[48_76, Exs. 2 & 3.
This lack of price movement supposedly proves that the misstatements had no price impact.
4/6/2015 Gompers Decl. 111148-60. lt also allegedly proves that the revelation of client conflicts
did not contribute to the stock price declines that followed the three corrective disclosures Id. 1[11
61§95; ECF 193-5 (“6/23/2015 Gompers Decl.”) ‘M 13§18; 7/2/2015 Gompers Decl. 1§1] 80~»124.

Dr. Choi builds off of Dr. Gompers’ opinion and provides an alternative explanation for
the stock price declines that followed the three corrective disclosures Since the conflicts were
reported on 36 separate occasions with no price movement, see 4!6/2015 Gompers Decl. 1§1{ 48-
60, the three price drops must have been due exclusively to the news of enforcement activities

ECF 193-8 (“7/2/2015 ChoiDecl.”)1[1[24m56, 66~81. The basis for Dr. Choi’s opinion is an

 

3 Tr. refers to the transcript of the evidentiary hearing and oral argument held on J nly 25 and 26, 2018.

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event study4 he conducted concerning the first corrective disclosure on April 16, 2010: the
ABACUS enforcement action. The ABACUS enforcement action Was purportedly unusual
because it: (1) was not accompanied by concurrent resolution (usually SEC complaints are
settled at the time of announcement of the enforcement action); (2) included scienter~based
charges; and (3) charged not only Goldman itself, but also an individual (Mr. Tourre). See id. 11
30. Dr. Choi used these characteristics (which he denominated as the “severity factors”) to
identify four other enforcement events (from a group of 117) that are similar to the ABACUS
enforcement action, and concluded that the average price decline of »8.07% following these four
enforcement events5 was driven entirely by the “severity factors” specifically tied to the news of
enforcement events. Id. 1111 31-38. Further, because the average price decline of -8.07% is not
statistically different from the price decline of -9.27% that Goldman experienced following the
ABACUS enforcement action, Dr. Choi concluded that the entirety of the -9.27% price drop was
due to the news of the enforcement event itself, rather than the revelation of Goldman’s client
conflicts Id.1111 24-42.
III. Insuft`icient Evidence of Lack of Price Irnpact

Under Barclays and Arkansas Teachers, the Basic presumption can be rebutted by
Defendants’ demonstration, by a preponderance of the evidence, that the-alleged misstatements
did not contribute to any of the price declines that followed the three corrective disclosures, that

is, the statements had no price impact.

 

4 An event study is a standard statistical technique that is used to test whether a security’s price reaction to a news
announcement (or some other event) is statistically significant See 1/30/2015 Finnerty Decl. 11 32.

5 The price declines associated with the four enforcement events had large variance: ~3.34%, -3.73%, »8.13%, and
-17.09%. The average of -8.07% could only be achieved by including an outlier enforcement event that had a price
drop of -17.09%.

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Upon due consideration of the parties’ briefs, expert reports, their testimony, and oral
argument, the Court concludes that Defendants have failed to establish, by a preponderance of
the evidence, that the alleged misstatements had no price impact Defendants have failed to tip
the scale in their favor on this issue.

Link between News ofGoldman ’s Conflicts and Stock Price Declines

The Court accepts Dr. Finnerty’s opinion that the news of Goldman’s conflicts on the
three corrective disclosure dates negatively impacted Goldman’s stock price. See 1/15/2015
Finnerty Decl. 1111 62, 63, 74, 75, 79, 80. lt is only natural that “economically significant negative
news,” such as these, would at least contribute to the stock price declines. Id. 11 62. Defendants
attempt to undermine Dr. Finnerty’s opinion, claiming in part that the underlying damages model
is “completely made up.” Tr. 233:20. That overstates the matter. Dr. Finnerty’s model, at the
very least, establishes a link between the news of Goldman’s conflicts and the subsequent stock
price declines That is sufficient

Lack ofPrice Movement Following 36 Reports of Conflicts

Defendants’ attempts to demonstrate the misstatements’ complete lack of price impact
are not persuasive Dr. Gompers claims, and Dr. Finnerty concedes, that Goldman’s stock price
did not move on any of the 36 dates on which the falsity of the alleged misstatements was
revealed to the public. 4/6/2015 Gompers Decl. 111148460; 817/2015 Finnerty Decl. ‘11 19; Tr. at
209122“-210:6. According to Defendants, this lack of price movement demonstrates that: (1) the
alleged misstatements did not support any price inflation; and (2) the price declines following the
three corrective disclosures could not have been caused by the news of Goldman’s conflicts.

The absence of price movement, however, in and of itself, is not sufficient to sever the

link between the first corrective disclosure and the subsequent stock price drop. The first

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corrective disclosure included new material information that had not been described in any of the
36 more generic reports on conflictsé. The first corrective disclosure (i.e., the SEC’s ABACUS
complaint) detailed the nature and extent of Goldman’s client conflicts for the first time.
Although there had been reports and commentaries suggestive of Goldman’s conflicts in the
ABACUS deal, the ABACUS complaint was the first to detail it. Compare S.E.C. v. Goldman
Sachs & Co., Case No. 10 Civ. 3229, ECF l (“ABACUS Compl.”) 1111 15-51 with ECF 193-34;
193~36. The details, such as the manner in which Goldman engaged ACA to hide Paulson’s role
in asset selection, disclosed by a federal government agency, obviously rendered the ABACUS
complaint more reliable and credible than any of the 36 media reports, especially in the presence
of the denials and rebuttals that accompanied some of the reports 5/15/2015 Finnerty Decl. 1111
183486.

Moreover, the ABACUS complaint was the first to expose hard evidence of Goldman’s
client conflicts. lt included direct quotes from damning emails between Mr. 'l`ourre (a former
Goldman employee) and others, and from Goldman’s internal memoranda, disclosing hard
evidence that Goldman had indeed engaged in conflicts to its own advantage See ABACUS
Compl. 1111 17, 18, 21, 23, 24, 28#~34, 43. This was the first time that any hard evidence of
Goldman’s conflicts was reported. See, e.g., Tr. at 82:6-7 (Dr. Gompers testifying: “l am

unaware of any of those e-mails being public prior to the publication or the filing of the SEC

 

6 The Court notes that the tenor and quality of 36 reports vary significantlyl Some of the reports suggest possible or
theoretical conflicts See, e.g., ECF 193-21 (“But there is no evidence that Goldman did wrong by conversing
with Mr. Paulson about financial conditions, if it actually did the latter.”). But others appear to be a cri de coeur
from sworn enemies. See, e.g., ECF 193-30 (“The world’s most powerful investment bank is a great vampire squid
wrapped around the face of humanity, reientlessly jainming its blood funnel into anything that smells like money.”).
Stili others were not damaging or reve]atory1 but rather commendatory: they praised Goldman for managing its
conflicts and still outperforming competitors See, e.g., ECF 193-20 (an article entitled “Goldman’s risk control
offers right example of governance”); ECF 193-26 (“Goldman’s happier outcome was not only a matter of being on
the right side of the trade. lt is generally conceded that the firm had a better handle on its risk than most other
investment banks.”).

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complaint.”). Neither Dr. Gompers nor Dr. Choi credibly explains how such hard evidence did
not contribute to the price decline following the first corrective disclosure.7

Dr. Choi ’s Event Study

Defendants put a significant emphasis on Dr. Choi’s opinion that the stock price declines
following the three corrective disclosures were due entirely to the news of enforcement actions

As a threshold matter, Dr. Choi’s conclusion is not supported by his event study. Yes,
Dr. Choi performed an event study concerning the stock price decline following the first
corrective disclosure (the “first price decline”). But he has performed no event study concerning
stock price declines following the second and third corrective disclosures (the “second price
decline” and the “third price decline”, respectively).8 There is no good reason to extend Dr.
Choi’s findings on the first price decline to those second and third price declines; Dr. Choi’s
opinion should be limited to the first price decline that he actually analyzed

Dr. Choi’s opinion, even with respect to the first price decline, may not be reliable. lt is
wholly predicated on the premise that the first price decline is consistent with price declines that
four other companies previously experienced upon the news of similar enforcement events This
observation of consistency is unreliable for four reasons

First, Dr. Choi selected four enforcement events (from the pool of 117) using three
arbitrary characteristics which he denominated as “severity factors.” lie concedes that he was

the first person to use these “severity factors” together, and that these “severity factors” are not

 

7 Dr. Gompers testified that “the internal e~mails [disclosed in the ABACUS complaint§ didn’t have a price impact”
because the Senate’s disclosure of additional internal e-maiis on Apri126, 2010 had no price impact See Tr. at
92:17-93:4. The Court rejects this testimony. The Senate’s disclosure of e~mails occurred on April 26, 2010, after
the filing of the ABACUS complaint on April 16, 2010 and presumably after the dissipation of price inflation that
had been sustained by the e-mail evidence in the ABACUS complaint The lack of price movement subsequent to
the Senate’s e-rnail disclosures has no bearing on whether the e~mails in the ABACUS complaint sustained inflation
8 Dr. Choi claimed that it was impossible to design a reliable event study for the second and third price declines Tr.
at 116:19-l 17:9; 119:17-120:7. His claim was not supported by any authority or literature

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generally accepted in the field. See Tr. at 142:6-143:11. Accordingly, his use of the “severity
factors” casts doubt on his opinion, especially because the selected enforcement events (l) did
not involve allegations concerning mismanagement of conflicts of interest, as here, and (2) did
not involve companies that were similar to Goldman in terms of business operations and size.
See ECF 193-14 (“8/7/2015 Finnerty Decl.”) 1{1{ 95-9'7.

Second, Dr. Choi’s event study does not account for the allegations of misconduct
underlying the four selected enforcement events. Tr. at 137110~138:4. Previously, he has stated
that the underlying allegations Would impact the stock price. See Choi, S., A. Wiechman, and A.
Pritchard, Scnndal Enforcement ar the SEC: The Arc of the Oprion Backdaring Invesfigations, 15
Am. L. & Econ. Rev., pp. 542-77 (20l3) (“the market response to an announcement of an option
backdating issue is less than the market response to an accounting issue”).9

Third, Dr. Choi quantified the consistency of price declines by comparing the first price
decline with the average price decline of four selected enforcement events. But it is well
understood that an average is an unreliable metric when the average is computed based on a
small number of samples and especially Where the variance among the underlying samples is
large, as here See 8/7/2015 Finnerty Decl. 1[1[ 99-104.

Fourth, Dr. Choi compared the first price decline With the average price decline using a
two-sample t-test. But “[a] r-test is not appropriate for small samples drawn from a population
that is not normal.” Bmt v. Um'ted Bhd. of Carpenters & Joiners ofAm., 2016 WL 3365772, at
*1 (E.D. Pa. lune 16, 2016) (quoting Reference l\/ianual on Scientific Evidence, Third Edition
from the Pederal .T udicial Center). Dr. Choi fails to demonstrate that the r-test based on two

samples is reliable, or that the samples were drawn from a population that follows a normal

 

9 Available at https://ideas.repec.orgfa/oup/amlawe/vl5y2013i2p542-577.htrnl (last visited Aug. 14, 2018).

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distribution See Tr. at 1')'6:18~177:3.

As discussed above, the Second Circuit directed the Court to determine whether
Defendants have demonstrated, by a preponderance of the evidence, that the alleged
misstatements had no price impact. In view of Dr. Finnerty’s opinion demonstrating the price
impact of alleged misstatements, and the deficiencies inherent in the opinions of Drs. Gompers
and Choi, the Court concludes that Defendants have failed to rebut the Basic presumption by a
preponderance of the evidence. There is insufficient evidence to conclude otherwise
Accordingly, the motion for class certification is granted.

At various points, Defendants hint at previously rejected arguments: that the alleged
misstatements are not actionable and that the loss causation cannot be demonstrated here. See
ECF 192 at 5 n.2; Tr. at 232:2_11; 233:21~234:3; 251:11-252:11; 263:2~»266:4. The Court
rejects them again. See Richman, 868 F. Supp. 2d at 277~83; In re Goldman Sachs Grp., Inc.
Sec. Litig., 2014 WL 2815571, *5-*6.

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For the reasons set forth above, the Court concludes that Defendants have failed to meet

their burden of proof: the Basic presumption is not rebutted and the motion for class certification

is granted The Clerk of Court is directed to terminate the pending motion at ECF 135.

Dated: New Yorl<, New Yorl< SO 0 RED

August 14, 2018 MMA

PAUL A. CROTTY
United States District ludge

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